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 1   Eric K. Fogderude, #070860
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 2   A Professional Corporation
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 3   Fresno, California 93704
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 4   Facsimile: (559) 431-4108
     E-mail: efogderude1@yahoo.com
 5
     Attorney for Defendant ESTANISLOA PULIDO
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )             CASE NO. CR-04-05327 AWI
                                   )
12             Plaintiff,          )             ORDER FOR PRODUCTION OF FILE
                                   )
13   vs.                           )
                                   )
14                                 )
     ESTANISLOA PULIDO             )
15                                 )
               Defendants.         )
16   ______________________________)
17
18           On April 23, 2012, the above referenced case came on calendar
19   for status hearing in Department 9 before the Honorable
20   Magistrate Judge Dennis L. Beck.
21           Defendant, ESTANISLAO PULIDO, was present and represented by
22   his attorney of record Eric K. Fogderude and the United States of
23   America was represented by Assistant United States Attorney,
24   Laurel J. Montoya.
25           Defendant, ESTANISLAO PULIDO, by and through his attorney,
26   ERIC K. FOGDERUDE, represented to the court that despite several
27   requests, he has not yet received the defendant’s court file from
28   the Defendant’s prior attorney of record George Paul Trejo, Jr.,


     U.S. vs Pulido                                        Order For Production of File
     Case No. 04-05327
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 1   701 N. 1st Street, Suite 103; Yakima, Washington 93901,
 2   facsimile number 509-575-0803, email: gptrejo@trejolawfirm.com,
 3   and therefore Defendant made an oral motion that Attorney George
 4   Paul Trejo, Jr. be ordered to deliver said file to Attorney Eric
 5   K. Fogderude forthwith.
 6
                                          ORDER
 7
              GOOD CAUSE APPEARING, it is ordered that Attorney George Paul
 8
     Trejo, Jr. deliver to Attorney Eric K. Fogderude at 5412 N. Palm
 9
     Ave # 101; Fresno, CA 93704, copies of all documents in his
10
     office file related to this case other than work product which
11
     would include, but not be limited to all pleadings, motions,
12
     discovery material, plea agreements, sentencing reports,
13
     memorandums and/or objections thereto, said documents to be
14
     delivered within fourteen days of the date this order is received
15
     by Attorney Trejo.
16
17
              IT IS SO ORDERED.
18
               Dated:    April 26, 2012           /s/ Dennis L. Beck
19   3b142a                                 UNITED STATES MAGISTRATE JUDGE
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     U.S. vs Pulido                                        Order For Production of File
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